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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                             Criminal No. 08-395(10) RHK/JJG

UNITED STATES OF AMERICA,               )
                                        )
                        Plaintiff,      )          ORDER SEALING DOCUMENT
         v.                             )
                                        )
                                        )
DEMONE ROYELIO SMITH,                   )
                                        )
                        Defendant.      )




Tracy Perzel, Assistant United States Attorney, 300 South Fourth Street, Room 600,
Minneapolis, MN 55415, counsel for Plaintiff.

Thomas H. Shiah, 247 Third Avenue South, Minneapolis, MN 55415, counsel for Defendant.



         This matter comes before the Court on defendant's Motion to Seal Document.

Based upon all the records and proceedings herein,

         IT IS HEREBY ORDERED that the defendant's Motion to Seal Document is

granted.




Dated:        6/14/10                         s/Richard H. Kyle
                                              Honorable Richard H. Kyle
                                              United States District Court Judge
